Case 3:24-cv-00623-JWD-SDJ Document 19-6 09/13/24 Page1of6

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF LOUISIANA

DEEP SOUTH TODAY, d/b/a VERITE
NEWS, GANNETT CO., INC., GRAY
LOCAL MEDIA, INC., NEXSTAR CASE NO. 3:24-cv-00623
MEDIA, INC., SCRIPPS MEDIA INC.,
and TEGNA INC.,

Plaintiffs,
v.

LIZ MURRILL, in her official capacity
as Attorney General of Louisiana,
ROBERT P. HODGES, in his official
capacity as Superintendent of the
Louisiana State Police, and HILLAR C.
MOORE, III, in his official capacity as
District Attorney of East Baton Rouge
Parish,

Defendants.

DECLARATION OF RICHARD ERBACH

I, Richard Erbach, declare as follows:

1. Tam over the age of 18. I make this declaration in support of
Plaintiffs’ Motion for Preliminary Injunction in the above-captioned matter. I have
personal knowledge of the matters stated herein.

2. I am the News Director at WGNO in New Orleans, Louisiana, a
broadcast television station owned by Nexstar, Inc. I have been in my current

position for approximately fifteen years. I have worked in media, supervising and
Case 3:24-cv-00623-JWD-SDJ Document 19-6 09/13/24 Page 2of6

engaging in newsgathering for 47 years. Prior to becoming News Director at
WGNO, I was the News Director at Meredith Corp’s Atlanta station WGCL, Vice
President of Sales & Public Relations for NewSource for CNN, and the Vice
President of News for KTVI in St. Louis, Missouri.

3. | Inmy role as News Director at WGNO, I manage a staff of 45,
including six reporters, five anchors, and seven photographers. I make decisions
about where to allocate newsroom resources across our different coverage areas.

4. T oversee the work of reporters, anchors, and photojournalists who
cover breaking news in Louisiana and who, as part of that work, come into close
contact with law enforcement officers on a daily basis.

5. Our recent coverage of a pro-Palestinian encampment on the Tulane
University campus, for instance, involved interacting with officers from the New
Orleans Police Department and Louisiana State Police and taking video from
within twenty-five feet of officers. See Raeven Poole, Law Enforcement Agencies
Raid Pro-Palestine Protest on Tulane University, WGNO (May 1, 2024),

https://bit.ly/3 X YmE0o.

6. Our reporters also routinely encounter officers at press conferences,
including availabilities held by the Governor, and at events like Mardi Gras, Jazz
Fest, the Thibodaux Fireman’s Fair, or professional, college, and high school

sports games.
Case 3:24-cv-00623-JWD-SDJ Document 19-6 09/13/24 Page3of6

7. When I train reporters and photographers, I advise them to get as
close as they can without putting themselves or others at risk in order to get usable
audio and video for broadcast. I also make clear that they should comply with all
law enforcement requests and avoid becoming part of the scene.

8. From my experience working in newsroom management, I know that
in order to capture usable audio of an event unfolding at a conversational volume
reporters must typically be no more than five feet away to make recordings that
can be used in a broadcast. To capture usable audio and video without risking an
obstructed view, our journalists must usually be within ten to fifteen feet away.

9. I first learned about HB 173 when it passed in the Louisiana House of
Representatives through reporting by other news organizations. I am concerned
that the law will make it harder for WGNO reporters and photographers to gather
the news safely and effectively. I also worry about officers enforcing the law
unfairly, applying it to some members of the media but not others, or to some
members of the media and not the public.

10. Many law enforcement officers understand that we need to be able to
do our jobs, but I have personal experience with some officers discouraging lawful
reporting by singling out members of the press and asking journalists to leave the

scene of newsworthy events.
Case 3:24-cv-00623-JWD-SDJ Document 19-6 09/13/24 Page4of6

11. In March or April of 2023, for instance, I was coming home from a
photography shoot on a Sunday morning when I saw several fire vehicles and
police cars. I parked and walked down to the sidewalk corner to see what was
taking place. Soon, I saw that law enforcement officers were securing the scene of
a motorcycle accident; the victims had already been taken away from the area.

12. WGNO routinely covers traffic incidents because of their importance
to public safety. See, e.g., Rachel Hernandez, Man Killed in Motorcycle Crash on

I-10 in New Orleans East, WGNO (May 24, 2024), https://bit.ly/3SjZIKF.

13. From the public sidewalk, I started shooting video and audio of the
scene with my iPhone from a distance of about ten feet from the crash. A Jefferson
Parish Sheriff's Deputy then came up and told me to stop shooting. Knowing that
I was within my rights to be present and recording, I refused, telling him that I was
a member of the media.

14. Next, the lieutenant came over and demanded my press credentials.
After I showed my ID, he called me a “ghoul” and again asked me to move back.
The deputies backed off only after I offered to call the Sheriff to settle the issue.

15. While this was unfolding, there was another woman—not a member
of the press but a member of the general public—who was there taking photos

right next to me from the same distance I was. The deputies never said anything to
Case 3:24-cv-00623-JWD-SDJ Document 19-6 09/13/24 Page5of6

her or asked her to move back. My impression was that I was being singled out
because the deputies believed I was a journalist.

16. They seemed ready to arrest me, but I knew that I had the right be
there. If HB 173 had been effect at the time, though, I would have been forced to
comply with their requests rather than document the scene.

17. Based on my own experience and the experiences of the WGNO
journalists I supervise, I would estimate that a member of the WGNO newsroom is
similarly asked to step back or move away from an officer around once a week.

18. IfHB 173 goes into effect, I will need to work with other members of
newsroom leadership to explain the law to our reporters. I will ask reporters to
comply with the law and always prioritize their own safety, but I do not know how
to measure twenty-five feet in practice or what to do if multiple officers standing in
different places attempt to enforce the law against them at the same time.

19. Because WGNO’s coverage areas will continue to bring our reporters
and photojournalists within twenty-five feet of law enforcement officers virtually
every day for the foreseeable future, I am concerned that HB 173 will be used to
arbitrarily prevent our journalists’ from getting close enough to gather the
information they need to inform the public, despite the fact that our journalists are
careful not to obstruct law enforcement officers’ ability to carry out their official

duties.
Case 3:24-cv-00623-JWD-SDJ Document 19-6 09/13/24 Page6éof6

I declare under penalty of perjury that the foregoing is true and correct.

Executed on July3!_, 2024 in New Orleans, Louisiana.

ae Ze

Richard Erbach

Prepared by:

Katie Townsend

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